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                                UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

        UNITED STATES OF AMERICA                          )
                                                          )
        vs.                                               )              No. 3:11-cr-00012-22
                                                          )              JUDGE WISEMAN
        ALTO PARNELL                                      )


                              MOTION FOR DAILY TRIAL TRANSCRIPT

               COMES NOW THE ACCUSED, ALTO PARNELL, by and through counsel, John

        Cauley, pursuant to the Fifth, Sixth, and Fourteenth Amendments of the United States

        Constitution, and moves this Court to Order that the accused be provided with a daily trial

        transcript in the instant case.

               In support of this motion, counsel states the following:
               1. Alto Parnell stands charged, along with 27 co-defendants, under a six (6) count
               Indictment, including charges of conspiracy and numerous drug offenses.
               2. The Government estimates that at least two weeks will be required for it to put
               on its case in chief.
               3. It will be exceptionally difficult for counsel for Alto Parnell to keep track of the
               testimony without at least partial transcripts of witness testimony. Without access
               to a daily transcript counsel will be impeded both in his efforts to cross examine
               effectively the Government’s witnesses and present the accused’s case.
               4. In Britt v. North Carolina, 404 U.S. 226, 227 (1971), the United States Supreme
               Court held that equal protection considerations require providing an indigent
               defendant with a transcript when the transcript is necessary for “an effective
               defense or appeal.” In Alto Parnell’s case, because of the nature of the proof the
               Government is expected to present and the length of the trial, daily transcripts are
               necessary for an effective defense.




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